                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA,                           )
                                                     )
 v.                                                  )   No.: 3:10-CR-149-PLR-HBG
                                                     )
 MARK LAWRENCE MICHALEC                              )


                               MEMORANUM AND ORDER


        This matter is before the Court on the defendant’s pro se motion for early

 termination of supervised release [R. 790]. In support of his motion, Defendant states

 that he has completed all requirements of his supervision, including payment in full of the

 restitution ordered in this case.

        Defendant’s probation officer reports that defendant has done well while on

 supervision; he has passed all his drug screens; has maintained good conduct in the

 community; has worked hard to change his life around; and has paid his restitution and

 special assessment in the amount of $7,468.26 in full. The Government has informed the

 Court that it has no objection to Defendant’s motion, and in fact, highly recommends

 granting the motion.

        Defendant pled guilty to conspiracy to defraud financial institutions. His offense

 was committed over one day and was limited to cashing two fraudulent checks.

 Defendant was sentenced to one day imprisonment, followed by three years of supervised

 release on February 10, 2012. The record shows that Defendant has completed more than




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 one year of his ordered term of supervised release. He has paid his restitution and special

 assessment in full. Defendant moves for early termination of supervised release pursuant

 to 18 U.S.C. § 3583(e) which provides:

       The court may, after considering the factors set forth in section 3553(a)(1),
       (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(6), and (a)(7) –

       Terminate a term of supervised release and discharge the defendant
       released at any time after the expiration of one year of supervised release,
       pursuant to the provisions of the Federal Rules of Criminal Procedure
       relating to the modification of probation, if it is satisfied that such action is
       warranted by the conduct of the defendant released and the interest of
       justice.

 18 U.S.C. § 3583(e)(1).

       After carefully considering the requirements of the statute, the Court finds that the

 relevant portions of 18 U.S.C. § 3583(a) support an early termination of Defendant’s

 supervised release. In support of this determination, the Court notes that Defendant has

 completed more than one year of his term of supervised release and that defendant is in

 compliance with the conditions of his release. The Court also notes that Defendant has

 maintained steady employment and paid his restitution in full. In addition, his probation

 officer, as well as the government, recommends early termination. Accordingly, because

 the requirements of 18 U.S.C. § 3583(e)(1) have been satisfied and in light of the lack of

 any objection by the Probation Office or the Government, the Court finds Defendant’s

 motion for early termination of supervised release well taken, and it is hereby

 GRANTED. Defendant’s term of supervised release is TERMINATED.




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       IT IS SO ORDERED.

       Enter:



                                          ____________________________________
                                          UNITED STATES DISTRICT JUDGE




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